

People v Savon (2025 NY Slip Op 50521(U))



[*1]


People v Savon (Emilio)


2025 NY Slip Op 50521(U)


Decided on April 15, 2025


Appellate Term, First Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on April 15, 2025
SUPREME COURT, APPELLATE TERM, FIRST DEPARTMENT

PRESENT: Hagler, P.J., Brigantti, Tisch, JJ.



570119/20

The People of the State of New York, Respondent,
againstEmilio Savon, Defendant-Appellant.




Defendant appeals from a judgment of the Criminal Court of the City of New York, New York County (Michael A. Frishman, J.), rendered February 18, 2020, convicting him, upon a plea of guilty, of petit larceny, and imposing sentence.




Per Curiam.
Judgment of conviction (Michael A. Frishman, J.), rendered February 18, 2020, affirmed.
Since defendant waived prosecution by information, the accusatory instrument is assessed under the reasonable cause requirement of a misdemeanor complaint (see People v Dumay, 23 NY3d 518, 522 [2014]). So viewed, the accusatory instrument was jurisdictionally valid because it described facts of an evidentiary nature establishing reasonable cause to believe that defendant was guilty of petit larceny (see Penal Law § 155.25). A Macy's store detective observed defendant "remove several items, including a coat and ten shirts, from the displays, place the shirts inside a shopping bag and put on the coat" before "bypass[ing] the store cash registers and attempt[ing] to leave the store without paying for the items." The instrument further alleges that a store employee recovered the merchandise from defendant. Contrary to defendant's present claim, these allegations were nonconclusory and facially sufficient to support the charged offense (see People v Livingston, 150 AD3d 448, 449 [2017], lv denied 29 NY3d 1093 [2017]; see also People v Olivo, 52 NY2d 309, 318-319 [1981]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concu
Decision Date: April 15, 2025









